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                                   3                               UNITED STATES DISTRICT COURT

                                   4                           NORTHERN DISTRICT OF CALIFORNIA

                                   5                                      SAN JOSE DIVISION

                                   6
                                        LENA EVANS, et al.,
                                   7                                                    Case No. 22-cv-00248-BLF
                                                     Plaintiffs,
                                   8
                                               v.                                       ORDER SUBMITTING MOTION
                                   9                                                    WITHOUT ORAL ARGUMENT; AND
                                        PAYPAL, INC.,                                   VACATING HEARING
                                  10
                                                     Defendant.                         [Re: ECF No. 20]
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         The motion to compel arbitration that is set for hearing on May 26, 2022 is hereby

                                  14   SUBMITTED without oral argument and the hearing is VACATED. See Civ. L.R. 7-1(b).

                                  15         IT IS SO ORDERED.

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                                  17   Dated: May 11, 2022

                                  18                                                 ______________________________________
                                                                                     BETH LABSON FREEMAN
                                  19                                                 United States District Judge
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